                       IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                                       Raleigh Division

JOHN MOORE,                                 :
                                            :
       Plaintiff,                           :
                                            :
v.                                          :       Civil Action No. 5:17-cv-24
                                            :
CORELOGIC SAFERENT, LLC,                    :
                                            :
       Defendant.                           :


                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the parties

hereby stipulate to the dismissal of the above-captioned action, with prejudice, with each side

bearing its own fees and costs.

November 16, 2017                            Respectfully submitted,

                                            JOHN MOORE



                                    By:    s/Leonard A. Bennett
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                                CERTIFICATE OF SERVICE

       I hereby certify that on November 16, 2017, I will electronically file the foregoing

Stipulation of Dismissal with Prejudice with the Clerk of the Court using the CM/ECF system,

which will then send a notification of such filing (NEF) to the following:

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       I hereby certify that on November 16, 2017, I will send a copy of this notice to the
following via electronic mail:

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